Case 2:18-cv-00035-APG-N.]K Document 28-26 Filed 06/14/18 Page 1 of 9

DECLARATION OF CARRIE GOLDBERG
PURSUANT TO 28 U.S.C. § 1746

I, Carrie Goldberg hereby state that I have personal knowledge of the facts

set forth below. If called as a witness, I could and would testify competently as

follows:

1.

I am a citizen of the United States and over the age of eighteen (18) years
old. I am self-employed as an attorney at my practice C. A. Goldberg,
PLLC, which is a law firm focusing on internet privacy and abuse,
domestic violence, and sexual consent. My office address is 16 Court
Street, Suite 2500 Brooklyn, NY 11241.

Since we opened in January 2014, my law flrm has handled over one
hundred matters involving sexual privacy invasions, over half of which
involved nonconsensual pornography

My law firm has removed 16,702 nonconsensual porn videos and pictures
from the internet, as of July 2017.

Approximately fifteen of our cases have been for individuals whose naked
videos and images were posted on MyEx.com without my clients’ consent.
I am a Board Member and Volunteer Attorney at the Cyber Civil Rights
Initiative (CCRI) and have focused extensively on its End Revenge Porn
Campaign.

CCRI has worked on the issue of non-consensual pornography since its

Page 1 of9

Case 2:18-cv-00035-APG-N.]K Document 28-26 Filed 06/14/18 Page 2 of 9

inception in August 2013. lt has helped thousands of victims who are

fighting against online abuse by providing support and referral service to

victims; advocating for legislation; collaborating with the tech industry to
develop design-based solutions; and educating courts, lawmakers, law
enforcement and the general public about the nature and prevalence of
online abuse, We also have worked extensively With major social media
companies to help them create and implement bans on nonconsensual
pornography on their platforms.

7. Nonconsensual pornography is the preferred term used to describe what
more commonly is referred to as “revenge porn”_the distribution of
private, sexually explicit images and videos of individuals without their
consent. Commonly the images are selfies that were shared privately with
a partner within the context of a private intimate relationship, but then
distributed beyond the relationship It includes situations when not just the
distribution is nonconsensual, but also when the capture of the images is
nonconsensual, as well as, in some cases, when the underlying sex act is
nonconsensual-~such as surreptitiously recorded videos and videos
depicting sexual assault.

8. Nonconsensual pornography can destroy victims’ lives. lt can disrupt

intimate relationships, as well as the victim’s educational and employment

Page 2 of 9

Case 2:18-cv-00035-APG-N.]K Document 28-26 Filed 06/14/18 Page 3 of 9

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opportunities Victims of nonconsensual pornography have been fired
from jobs and forced to change Schools.

Victims of nonconsensual pornography are also routinely threatened with
sexual assault, and are often stalked and harassed.

Victims of nonconsensual pornography often struggle with issues related to
mental health, including anxiety and depression In my work, my clients
have engaged in self-harming behavior as a result of their anguish-a
including cutting, anorexia and bulimia, and alcohol and drug abuse, They
all report feelings of exposure and in cases where their images were posted
online for countless people to view, they report being constantly occupied
by the fear that strangers have seen them naked. And in most cases, it’s
true.

Some victims of nonconsensual pornography have committed suicide.
Some of my clients are minors. Of the dozens of minors I’ve helped, every
single one has reported experiencing the wish to kill themselves as a result
of the nonconsensual pornography. The shame is that profound and feels
inescapable to them.

Domestic abusers routinely use nonconsensual pornography as a threat to
prevent a partner from leaving a relationship, reporting abuse, or seeking

custody of children I had a prospective client who was coerced into

Page 3 of9

Case 2:18-cv-00035-APG-N.]K Document 28-26 Filed 06/14/18 Page 4 of 9

marriage by somebody who threatened to send naked pictures of her to her
conservative Muslim family in the Middle East. In another case, my client
obliged to an anonymous stalker’s demand she film herself having sex with
strangers in hopes he would not make good on his threat to distribute naked
pictures of her that he had. He distributed them anyway. I’ve had three
cases in which a man tried to submit nude pictures of his ex-wife into the
court record of family court proceedings to prove she was unfit to have
custody of their shared children One time a young woman was told to
masturbate for three minutes in front of her Webcam unless she wanted the
offender to share a naked picture with all of her Facebook B'iends.

13. Often individuals whose images are posted did not make the pictures
available to anyone. Some are victims of sexual assaults that have been
recorded. Some victims are recorded without their knowledge Others
have private images stolen from them by individuals they have not met.

14. Victims who do make intimate images available to intimate partners have
entrusted another person with sensitive information, at times with the
express condition that it not be shared. Private sexual information deserves
no less protection under the law than private financial or health
information

15. While men and Women can be victims of nonconsensual pornography,

Page 4 of 9

Case 2:18-cv-00035-APG-N.]K Document 28-26 Filed 06/14/18 Page 5 of 9

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evidence indicates the majority of victims are women Not only that, but
women often face more serious consequences as a result of the
victimization, in the form of domestic violence, rape, and sexual
harassment Additionally, women face much more aggressive attacks from
the viewers of nonconsensual pornography_many of whom reach out to
them online after seeing their personal contact information posted
alongside their contact information

A growing number of states have criminalized nonconsensual pornography
The criminal laws target the individual posters of the material, and often do
not capture those individuals who encourage and facilitate dissemination of
nonconsensual pornography and are motivated by a desire for money or
notoriety, or do so out of boredom, the thrill of hacking another person, or
to boast.

The website MyEx.com has negatively affected my clients in many ways.
All of my clients who appeared on MyEx.com were women They all came
to me completely humiliated and ashamed and absolutely sure their naked
images would stay online for the rest of their lives. During my first year of
practice, about 40% of all my cases relating to nonconsensual pornography
involved women whose images were published on MyEx.com.

My first case involved a 19-year-old student who had no idea how her

Page 5 of9

Case 2:18-cv-00035-APG-N.]K Document 28-26 Filed 06/14/18 Page 6 of 9

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picture got up there. Her first and last name, city and state were all posted
alongside the images. And she dropped out of community college after
strangers contacted her to tell her about the pictures. Her mother had
recently died and she lived with her father in constant fear that his grief
would be exacerbated if he discovered the naked pictures online.

My second client also was posted on MyEx.com. She had never taken a
naked picture in her life, but yet two separate profiles depicting her were
published on MyEx.com with her first and last name, age, and city and
state. Somebody had stolen a picture of her at the beach off her friend’s
Facebook page and then photo shopped of`f her bathing suit. Even though
the naked body parts visible in the picture did not belong to her, she Was
equally humiliated and harassed by viewers as if they had been She was
new to New York and had just landed the job of her dreams at a fashion
company, but stayed up late at night and couldn’t eat because she was so
Worried about how she would tell her workplace.

People of all ages are on display on MyEx.com. One notable case involved
a woman in her 40’s with a ten-year-old son whose pictures Were online.
She was emerging from a horriny abusive relationship when She
discovered the pictures on MyEx.com. Although she’d gotten some relief

h'om rescuing her son and herself from the relationship, her world broke

Page 6 of 9

Case 2:18-cv-00035-APG-N.]K Document 28-26 Filed 06/14/18 Page 7 of 9

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open when she saw the unf.lattering naked pictures online and she became
suicidal. Along With her personal identifying information, the post
included comments from viewers who viciously ridiculed the appearance
of her body and genitals. I feared she would take her life and had to check
in on her every couple of hours for several days until her initial shock wore
off.

Individuals spend hundreds_if not_thousands of dollars to remove their
pictures from MyEx.com. In many cases, victims spend even more money
trying to get orders of protection or injunctions against the individuals who
post them, but many judges are reluctant to order the offender or website to
remove the pictures for fear that the order will be overturned as being a
legal restraint on their first amendment rights. This, in spite of the fact that
most family courts have the discretion to prohibit abusers nom engaging in
Whatever harmful behavior is relevant to the matter.

When I first started my practice and had so many MyEx.com cases, the
naked images published on MyEx.com came up very high in the Google
results when my clients’ names were typed in to the search engine. This
had devastating effects for my clients when they applied for jobs, tried to
date romantically, or even when shopping for a new apartment My clients

never knew who had Google_d them and consequently seen them naked.

Page 7 of9

Case 2:18-cv-00035-APG-N.]K Document 28-26 Filed 06/14/18 Page 8 of 9

24. The ability for a person to have intimate images taken down on an
individual basis does not make the person whole. Once a post is public,
most often the individual pictured begins to suffer harms immediately
Moreover, the intimate images and information may be preserved in caches
of the website, on the Wayback Machine, screenshots or captures made by
others, and a host of other places. One can never know if the posting of
intimate images and information is fully remediated.

25. Commercial websites that solicit, encourage and share nonconsensual
pornography cause individuals to suffer harms in unique ways. In the case
of MyEx.com, the images solicited encourage criminal activity. Moreover,
the posts on MyEx.com linked to personal and professional social media
accounts of the subject, and the site collects very specific contact
information of the subject of the image, collects votes for star ratings of the
posts, tracks the number of views of each page, and is a prominent result in
search engines.

26. The harms caused to consumers by commercial Websites, such as
MyEx.com, are numerous and are inadequately addressed by after-the-fact

takedowns and other available remedies

Page 8 of 9

Case 2:18-cv-00035-APG-N.]K Document 28-26 Filed 06/14/18 Page 9 of 9

Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the

foregoing is true and correct.

Dated: jr / ’" /7 signed

 

Carrie G)€Gberg

Page 9 of 9

